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United States District Court
District of Maryland, Southern Division

 

 

Ms. Jane Roe, a pseudonym )
Plaintiff )
) &
Vv ) Case No: PX ecCv0i 10
) (To be filled in by Court)
Hon. Brian Frosh, et al. )
Defendants )

Plaintiff's Motion for Leave of Court to Proceed under Pseudonym; to Omit DOB, Phone
Number, and Email Address from Complaint;
to Seal the Attached Declaration; and, Certificate of Service

Now comes, Plaintiff Ms. Jane Roe, a pseudonym, and requests to proceed under
pseudonym; to omit date of birth, phone number, and email address from complaint; and, to seal,
the attached one-page declaration to the Court.

As this Court noted in Casa de Maryland, Inc. v. Trump, the Fourth Circuit has held that
while the public has an important interest in open judicial proceedings, “compelling concerns
relating to personal privacy or confidentiality may warrant some degree of anonymity.” No.
GJH-18-845, 2018 WL 1947075, at *1 (D. Md. Apr. 25, 2018) (quoting Doe v. Pub. Citizen, 749
F.3d 246, 273 (4th Cir. 2014)).

Several factors are considered to balance the need for open proceedings against a party’s
privacy concerns:

Whether the justification asserted by the requesting party is merely to avoid the

annoyance and criticism that may attend any litigation or is to preserve privacy in

a matter of sensitive and highly personal nature; whether identification poses a

risk of retaliatory physical or mental harm to the requesting party or even more

critically, to innocent nonparties; the ages of the person whose privacy interests

are sought to be protected; whether the action is against a governmental or

private party: and, relatedly, the risk of unfairness to the opposing party from
allowing an action against it to procced anonymously.

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Pub. Citizen, 749 F.3d at 273 (quoting James v. Jacobson, 6 F.3d 233, 239 (4th Cir. 1993)). In
Casa de Maryland, this Court found these factors favored allowing plaintiffs, who challenged a
federal immigration policy decision that resulted in rescission of their lawful immigration status,
to omit their addresses. 2018 WL 1947075 at *1-*2. The Court also found that the plaintiffs’
addresses had no bearing on the merits of their action and that shielding them from public view
would not prejudice government defendants. /d. at *2.

Also in Edgar v. Coats, 454 F.Supp.3d 502, 522 (D.Md. 2020), this Court found “the
Movants’ rationales for withholding their addresses align with the Public Citizen factors to
varying degrees, the Court finds that granting the motion is warranted given the limited
countervailing public interests at play. As in Casa de Maryland, Plaintiffs’ addresses ‘are of
minimal import to furthering the openness of judicial proceedings.’” Further, there is no
indication of any prejudice to Defendants, nor “is it apparent that the addresses are relevant to
any questions before the Court.” Jd.

Here, Plaintiff Jane Roe asserts that false allegation of incest, inter alia, was made, and
must be examined here as invidious racial and/or personal animus.' Strickland v. Residence Inn,
No. 3:21-cv-00270-HZ, 2021 WL xxxx, at *2 (D. Or. July 12, 2021) (“a factfinder could infer
intentional discrimination from Defendants’ employees’ alleged treatment of Plaintiff. Although
Defendant Pirret did not call Plaintiff a racial slur, her remarks to Plaintiff accusing him and his

sister of committing a crime (forgery) and characterizing him as uneducated and illiterate

 

' Craig v. US Bancorp, No. CIV. 03-1680-AA, 2004 WL 817149, at *4 (D. Or. Apr. 14, 2004)
(“[T]he issue here is not whether racial invective was used [...] but whether [plaintiff] was
treated differently because of his race and whether that treatment resulted in [plaintiff] suffering
any harm.”).
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constitute circumstantial evidence from which a factfinder could reasonably infer a
discriminatory motive based in invidious racial stereotypes about African Americans.”).

The nub of it is: Plaintiff Ms. Roe was repeatedly accused of being stupid, illiterate, a “bit
player,” and unsophisticated to defend herself and her interests. Most troubling was a proposed
order submitted wherein Plaintiff Ms. Roe was falsely accused of, paraphrasing, ‘repeatedly
holding herself out as her former-father-in-law’s wife,’ i.e., incest. This false allegation was
published.

Recently, on 1/11/2022, the following was stated: “had an incestuous sexual relationship
with her former father-in-law[.]” Again, the 1/11/2022 quoted text was published. Of course,
this is simply not true and wholly invented to scare away Plaintiff from demanding her
inheritance.

In Plaintiff's opinion, future findings of facts by this Court will include a discussion of
such evidence and that is sufficient to shield my identity and identifiable information.’ Finally,
Plaintiff is a single mother raising her son — he’s a student and lives at home. A young man
simply doesn’t have the maturity to understand someone’s malicious and evil false accusation of
“incest” between his mother and his deceased grandfather.

Defendant(s) will not be prejudiced, in the least bit, if Plaintiff proceeds anonymously
and omits other personal identifying information from complaint. This Court and Defendants
will receive the attached “declaration” — which one-page document this Court is humbly
requested to seal. To be sure, there is a public interest in punishing and preventing Defendants’

alleged activities; but not in further humiliating Plaintiff Ms. Roe.

 

* At this stage, merely shielding identifiable information is sufficient by granting leave to use
pseudonym and sealing Plaintiff's attached declaration. However, as the case progresses, this
Court, most likely, will be requested to “seal” the entire record. But that is not before the Court
now.
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Respectfully submitted,

Sane Koe_
Ms. Jane Roe, a pseudonym
Plaintiff, pro se

 

Certificate of Service

I hereby certify that a copy of this motion with declaration was mailed this 14" day of
January, 2022 to:

Hon. Mr. Frosh, 200 St. Paul Place, Baltimore, Md. 21202
Hon. Mr. Griffin, 50 Maryland Ave., North Tower 3220, Rockville, Md. 20850

Jane Lac_
Ms. Jane Roe, a pseudonym, pro se

 
